 1   DAVID A. TORRES AND ASSOCIATES
     David A. Torres, SBN135059
 2   1318 K. Street
     Bakersfield, CA 93301
 3   Tel: (661)326-0857
     Fax: (661)326-0936
 4   Email: dtorres@lawtorres.com
 5   Attorney for:
     RICARDO CRUZ GOMEZ, JR.
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                    ) Case No.: 1:15-CR-00209 LJO-SKO
10   UNITED STATES OF AMERICA,                      )
                                                    )
11                 Plaintiff,                       ) STIPULATION AND ORDER TO SET
                                                    ) SENTENCING HEARING
12          vs.                                     )
                                                    )
13   RICARDO CRUZ GOMEZ, JR.,                       )
                                                    )
14                 Defendant                        )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   LAWRENCE O’NEILL AND BRIAN DELANEY, ASSISTANT UNITED STATES
17   ATTORNEY:
18          IT IS HEREBY STIPUALTED between David A. Torres, attorney for Ricardo Gomez,
19   and AUSA Brian Delaney, that sentencing in the above matter be set on November 14, 2016 at a
20   time determined by the court. U.S. Probation Officer Brian Bedrosian has been advised of the
21   date and will assign an assistant USPO to interview Mr. Gomez.
22          Counsel is also requesting that the status conference date currently scheduled for August
23   29, 2016 be vacated.
24          //
25          //



                    Stipulation and Proposed Order to set Sentencing Date

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 2           IT IS SO STIPULATED.

 3                                                            Respectfully Submitted,

 4   DATED: July 26, 2016                                     /s/ David A Torres          ___
                                                              DAVID A. TORRES
 5                                                            Attorney for Defendant
                                                              RICARDO GOMEZ
 6

 7
     DATED: July 26, 2016                                     /s/Brian Delaney___ ________
 8                                                            BRIAN DELANEY
                                                              Assistant U.S. Attorney
 9

10
                                                ORDER
11

12
            The Sentencing Hearing is hereby set for November 14, 2016 at 10:00 a.m. and the status
13
     conference set for August 29, 2016 is vacated.
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     IT IS SO ORDERED.
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        Dated:    July 27, 2016                           /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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                    Stipulation and Proposed Order to set Sentencing Date

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